Case 3:25-cr-00083-CHB-CHL           Document 31       Filed 06/20/25     Page 1 of 2 PageID #:
                                            142



                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                    AT LOUISVILLE

UNITED STATES OF AMERICA                                                            PLAINTIFF


v.                                                 CRIMINAL ACTION NO. 3:25-CR-83-CHB


MARK FOSTER, JR.                                                                  DEFENDANT

        RESPONSE DEFENDANT FOSTER’S MOTION TO CONTINUE TRIAL
                         -- Electronically Filed --

       Comes the United States, by counsel, Alicia P. Gomez, Assistant United States Attorney,

and states that there is no objection to Defendant Foster’s Motion to Continue the trial currently

scheduled in this case (DN 30). The United States is in the process of producing discovery in this

matter and needs additional time to confer with counsel regarding possible resolutions for this

matter. Wherefore, undersigned counsel for the United States does not oppose the motion to

continue the currently scheduled July 15, 2025 trial date.

                                               Respectfully submitted,

                                               KYLE G. BUMGARNER
                                               United States Attorney


                                               /s/ Alicia P. Gomez
                                               Alicia P. Gomez
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Case 3:25-cr-00083-CHB-CHL            Document 31        Filed 06/20/25      Page 2 of 2 PageID #:
                                             143



                                  CERTIFICATE OF SERVICE
        I hereby certify that on June 20, 2025, I electronically filed the foregoing with the clerk of
the court by using the CM/ECF system, which will send a notice of electronic filing to counsel for
the defendant.
                                                 /s/ Alicia P. Gomez
                                                 Alicia P. Gomez
                                                 Assistant U.S. Attorney
